946 F.2d 1566
    292 U.S.App.D.C. 86
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.William A.X. SMITH, Appellant,v.Louis W. SULLIVAN, M.D., Secretary, Department of HHS.
    No. 90-5146.
    United States Court of Appeals, District of Columbia Circuit.
    Jan. 28, 1991.
    
      Before MIKVA, Chief Judge, RUTH B. GINSBURG and CLARENCE THOMAS, Circuit Judges.
      ORDER
      PER CURIAM.
    
    
      1
      Upon consideration of appellee's motion for summary affirmance and appellant's cross-motion for summary reversal, it is
    
    
      2
      ORDERED that the motion for summary reversal be denied.   It is
    
    
      3
      FURTHER ORDERED that the motion for summary affirmance be granted for the reasons well stated by the district court in its memorandum decision and order filed March 29, 1990.   The merits of the parties' positions are so clear as to justify summary action.   See Taxpayers Watchdog, Inc. v. Stanley, 819 F.2d 294, 297 (D.C.Cir.1987) (per curiam);   Walker v. Washington, 627 F.2d 541, 545 (D.C.Cir.)  (per curiam), cert. denied, 449 U.S. 994 (1980).
    
    
      4
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.   See D.C.Cir. Rule 15.
    
    